 Case 1:15-cv-06119-AJN-JLC Document 373-35 Filed 06/19/17 Page 1 of 3




          Exhibit 31
[Embedded Video Submitted to Chambers]
6/15/2017                          BPCA discusses spending on infrastructure for hurricane defenses | BatteryPark.TV We Inform
                       Case 1:15-cv-06119-AJN-JLC            Document 373-35 Filed 06/19/17 Page 2 of 3


    BatteryPark.TV We Inform



    BPCA discusses spending on infrastructure for hurricane defenses
    Posted on July 30, 2013 by Editor

                          Like 0

        Tweet


        BPCA on storrm prep 7-30-2013




    July 30, 2013­ By Steven E. Greer, MD

    The BPCA board met today, and for the first time hinted at how it will spend the billion dollars it will raise in new
    bonds this year. Plans are underway to begin to beef up the infrastructure and to prepare better against future
    hurricane damage.

    Gwenn Dawson, the person in charge of “asset management” for the authority, mentioned how Goldman Sachs
    was better prepared, and how Goldman’s elaborate sandbagging prevented flood damage. In contrast, across the
    street, the brand new Asphalt Green community center and ballfields operated by the BPCA were flooded. The VP
    of operations is Anne Fenton.

    Starting this hurricane season, the BPCA will place similar sandbags around the community center. More
    importantly, it was suggested that the entire concrete bathtub that makes up the 92 acres of Battery Park City
    could be better fortified to prevent flooding. No details were given.

     

    This entry was posted in ­ Real estate, ­ State Government, Asphalt Green, Battery Park City and BPCA, Hurricane Sandy, Parks. Bookmark the permalink.




    2 Responses to BPCA discusses spending on infrastructure for hurricane defenses

                JFC says:
                July 30, 2013 at 11:39 pm


http://batterypark.tv/real­estate/bpca­discusses­spending­hundreds­of­millions­on­beefing­up­infrastructure­for­hurricane­defenses.html                      1/2
6/15/2017                       BPCA discusses spending on infrastructure for hurricane defenses | BatteryPark.TV We Inform
                    Case 1:15-cv-06119-AJN-JLC            Document 373-35 Filed 06/19/17 Page 3 of 3
             Follow the money on this green scam.



             Catherine says:
             September 18, 2013 at 1:26 am


             As gateway 400 was the only building to lose electricity, I would like to inquire what gateway lefrak has done to prevent the
             outcome of maintenance people turning off electricity and returning it on again! 
             Why hasn’t the electricity room been moved from bottom floor, why wasn’t a concrete wall built instead of merchants being
             allowed to continue..or building a lower level lub and swimming pool 
             It’s like building a river inlet to allow even greater flooding




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